    




                                                      UNITED STATES DISTRICT COURT
                                                      EASTERN DISTRICT OF TENNESSEE

   ROBERT T. STOOKSBURY,                                            )
                                                                    )
                                Plaintiff,                          )
                                                                    )
   v.                                                               )     No.:   3:12-CV-548-TAV-HBG
                                                                    )
   MICHAEL L. ROSS, et al.,                                         )
                                                                    )
                                Defendants.                         )


                                                                  ORDER

                 This civil matter is before the Court on the Report and Recommendation entered by

   United States Magistrate Judge H. Bruce Guyton, on July 3, 2017 (the “R&R”) [Doc. 513].

   In the R&R, Judge Guyton recommends that plaintiffs’ Motion for Default Judgement

   Against the Ross Entities [Doc. 492] be granted. There have been no timely objections to

   the R&R, and enough time has passed since the filing of the R&R to treat any objections

   as having been waived. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72.

                 After a careful review of the matter, the Court is in agreement with Magistrate Judge

   Guyton’s recommendations, which the Court adopts and incorporates into its ruling. As

   such, the Court ACCEPTS IN WHOLE the R&R [Doc. 513]. The Court hereby orders

   the following:

                 1.             That plaintiff’s Motion for Default Judgment Against the Ross Entities1

                                [Doc. 492] is GRANTED;


                                                               
                 1
                     The specific Ross entities are identified in the R&R [Doc. 513 pp. 2–3].



Case 3:12-cv-00548-TAV-HBG Document 522 Filed 07/31/17 Page 1 of 2 PageID #: 13519
         2.    That the Ross Entities are ADJUDGED responsible for fraud, civil

               conspiracy, and unjust enrichment, and are also found in violation of 18

               U.S.C. § 1962(d); and

         3.    That judgment in the total amount of $1,516,431.79 be awarded to plaintiff,

               plus costs and interest.

         IT IS SO ORDERED.


                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE


   ENTERED AS A JUDGMENT

         s/ Debra C. Poplin
        CLERK OF COURT




                                             2



Case 3:12-cv-00548-TAV-HBG Document 522 Filed 07/31/17 Page 2 of 2 PageID #: 13520
